              Case 2:11-cr-00327-DAD Document 150 Filed 10/10/12 Page 1 of 2


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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,             )            No. 2:11-cr-00327 MCE
                                           )
12                                         )            ORDER AUTHORIZING LIMITED RELEASE
                       Plaintiff,          )            OF PLEA AGREEMENT; PROTECTIVE
13                                         )            ORDER IN CONNECTION THEREWITH
           v.                              )
14                                         )
                                           )
15   JACQUELIN WADE,                       )
                                           )
16                     Defendant.          )
     _____________________________________ )
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            On September 21, 2012, the government moved to unseal the plea agreement in this matter.

21   Assistant Federal Defender Alexandra Negin subsequently objected to a complete unsealing of Defendant

22   Wade’s plea agreement, and proposed a protective order. Assistant United States Attorney Kyle Reardon
23   filed a statement of non-opposition to that request. Accordingly, good cause appearing therefor,
24          Defendant Jacquelin Wade’s plea agreement is hereby unsealed, with a protective order providing
25
     that the government may provide said plea agreement only to the defense counsel for Tynisha Hornbuckle
26
     and Tamrell Hornbuckle.
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     ///
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                Case 2:11-cr-00327-DAD Document 150 Filed 10/10/12 Page 2 of 2


 1          It is further ordered that counsel for Tynisha Hornbuckle and Tamrell Hornbuckle may not
 2   distribute Ms. Wade’s plea agreement to their clients or any other individual, and that they may only
 3   disclose the contents of the plea agreement as necessary to effectively defend their clients at the sentencing
 4
     hearing.
 5
            IT IS SO ORDERED.
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 7    Dated: October 10, 2012

 8                                                      ________________________________
 9                                                      MORRISON C. ENGLAND, JR.
                                                        UNITED STATES DISTRICT JUDGE
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